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                  7
                  8                            UNITED STATES DISTRICT COURT
                  9                       CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11 CHRISTOPHER RASH, on behalf of                CASE NO. 5:21-CV-00998-JWH-SP
                    himself and all others similarly situated,
                 12                                               The Honorable John W. Holcomb
                 13               Plaintiff,                      DEFENDANT’S NOTICE OF
                                                                  MOTION AND MOTION TO
                 14         v.                                    TEMPORARILY STAY ACTION
                                                                  PENDING APPROVAL OF CLASS
                 15                                               SETTLEMENT IN ANOTHER
                                                                  ACTION;
                 16 TELEBRANDS CORPORATION,
                                                                  MEMORANDUM OF POINTS AND
                 17                                               AUTHORITIES; AND
                                  Defendant.
                 18                                               DECLARATION OF JEFFREY L.
                                                                  RICHARDSON
                 19
                                                                  (Request for Judicial Notice Filed and
                 20                                               [Proposed] Order Submitted
                                                                  Concurrently Herewith)
                 21
                                                                 Date:         November 5, 2021
                 22                                              Time:         9:00 a.m.
                                                                 Courtroom:    2
                 23                                              Location:     3470 12th Street
                                                                               Riverside, CA 92501
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   Knupp LLP
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                  1                                 NOTICE OF MOTION
                  2 TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
                  3         PLEASE TAKE NOTICE that, on November 5, 2021, at 9:00 a.m., or as
                  4 soon thereafter as the matter may be heard in Courtroom 2 of the above-entitled
                  5 Court, located at 3470 12th Street, Riverside, CA 92501, defendant Telebrands
                  6 Corp. (erroneously sued as Telebrands Corporation) will and hereby does move the
                  7 Court for an order temporarily staying the above-entitled case, including discovery
                  8 therein, pursuant to the Court’s inherent authority and Federal Rules of Civil
                  9 Procedure, in order to allow the Superior Court of New Jersey to consider a
                 10 proposed settlement of a parallel nationwide class action in Gallo et al. v.
                 11 Telebrands Corporation, Civil Action No. ESX-L-007123-21, which, if approved,
                 12 would resolve all or, at the very least, the vast majority of claims in this action (e.g.,
                 13 the named Plaintiff herein may decide to opt out of the Gallo settlement). As
                 14 detailed in the accompanying memorandum, the temporary stay is in the interests of
                 15 judicial economy and to ensure the orderly and efficient management of litigation.
                 16         This Motion is based on, inter alia, the Court’s inherent authority and
                 17 Federal Rule of Civil Procedure 26(b)(2)(C)(iii) and is based on this Notice of
                 18 Motion and Motion, the accompanying Memorandum of Points and Authorities,
                 19 the Declaration of Jeffrey L. Richardson, the concurrently-filed Request for
                 20 Judicial Notice, all pleadings and papers on file in this action, any reply Telebrands
                 21 Corp. may file, and any such further matters and arguments as may be presented to
                 22 the Court in connection with this Motion.
                 23         This Motion is made following the conference of counsel pursuant to Local
                 24 Rule 7-3 which started on September 22, 2021. See Richardson Decl., ¶ 2.
                 25 DATED: OCTOBER 8, 2021                  MITCHELL SILBERBERG & KNUPP LLP
                 26
                 27                                         By:
                                                                      Valentine A. Shalamitski
    Mitchell     28                                                   Attorneys for Defendant
  Silberberg &                                                        Telebrands Corp.
   Knupp LLP
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                  1 I.      INTRODUCTION
                  2         On September 22, 2021, three named plaintiffs filed a parallel state class
                  3 action titled, Gallo et al. v. Telebrands Corporation, Civil Action No. ESX-L-
                  4 007123-21 (“Gallo), in the Superior Court of New Jersey (Exhibit 1 to the Request
                  5 for Judicial Notice (“RJN”)). Concurrently with the Gallo class action complaint,
                  6 the Gallo plaintiffs filed a Motion for Preliminary Approval of Class Action
                  7 Settlement (Exhibits 2 - 5 to RJN).
                  8         Gallo is a nationwide class action which makes allegations similar to the
                  9 allegations in this case, asserts similar claims, contains similar class and subclass
                 10 definitions, and seeks similar relief. Defendant’s counsel herein advised counsel
                 11 for Plaintiff Christopher Rash herein (“Rash”) of the Gallo settlement and the fact
                 12 that it encompasses the claims of Rash individually, as well as the claims of all
                 13 absent class members included in the proposed classes in the instant action. As a
                 14 result, if approved and when final, the Gallo settlement would resolve all or the
                 15 vast majority of claims in this action (e.g., Rash may decide to opt out of the Gallo
                 16 settlement, in which event his individual claims may not be barred). Rash did not
                 17 voluntarily agree to a stay in this case such that a stipulation could have been
                 18 submitted to this Court. This motion accordingly follows.
                 19         “The spirit of th[is] motion to stay is that proceeding with this case would be
                 20 a waste of the Court’s resources and potentially result in duplicative litigation.”
                 21 Branca v. Iovate Health Scis. USA, Inc., No. 12CV01686-LAB WMC, 2013 WL
                 22 1344306, at *1 (S.D. Cal. Apr. 2, 2013) (staying a federal class action “pending the
                 23 approval of a settlement in a substantively identical class action in Santa Barbara
                 24 Superior Court” filed after the federal action was filed).
                 25         As established below, all relevant factors favor the requested temporary stay
                 26 which Defendant respectfully requests this Court grants, consistent with numerous
                 27 other district courts uniformly granting a stay under similar circumstances. See,
    Mitchell     28 e.g., Pieterson v. Wells Fargo Bank, N.A., No. 17-CV-02306-EDL, 2019 WL
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                  1 1466963, at *1 (N.D. Cal. Feb. 14, 2019) (“Courts routinely exercise [their
                  2 discretionary] power and grant stays when a pending nationwide settlement could
                  3 impact the claims in the case before them.”) (collecting cases).
                  4 II.     PROCEDURAL AND FACTUAL BACKGROUND
                  5         A.     The Instant Action
                  6         Plaintiff Rash filed his Class Action Complaint (“Complaint”) in the instant
                  7 action on June 14, 2021. ECF No. 1. Rash served the Complaint on July 20 and
                  8 Defendant filed its Answer on August 10, 2021. ECF No. 35.
                  9         Rash alleges that “Defendant designs and develops, advertises, sells, and
                 10 distributes expandable Silver Bullet™ garden water hoses (the ‘Silver Bullet
                 11 Hose’) throughout the United States. Expandable garden water hoses like the
                 12 Silver Bullet are designed to grow into a full-sized hose when in use and then
                 13 shrink back to an original compact size when dry and after the first use. Defendant
                 14 advertises the Silver Bullet Hoses as being reliable alternatives to conventional
                 15 rubber garden hoses.” ECF. No. 1 at ¶ 1. Rash further alleges that “[c]ontrary to
                 16 Defendant’s advertising and representations, however, shortly after the first use,
                 17 Silver Bullet Hoses tear, wear, develop pin-holes, and leak.” Id., ¶ 6.
                 18         Based on these and other allegations, Rash alleges the following six claims,
                 19 on behalf of himself, the purported nationwide class, and the purported California
                 20 subclass: (1) violation of California Consumers Legal Remedies Act; (2) violation
                 21 of California Unfair Competition Law (“UCL”) – Unlawful Business Practice; (3)
                 22 violation of UCL – Unfair Business Practice; (4) breach of implied warranty; (5)
                 23 breach of implied warranty of merchantability, Song-Beverly Act, Civ. Code §
                 24 1790 et seq.; and (6) unjust enrichment. Id., ¶¶ 50, 51, 60-65, 66-72, 73-77, 78-88,
                 25 89-108, 109-114. Rash seeks to recover injunctive relief, declaratory relief,
                 26 “actual, general, special, incidental, statutory, treble, or other multiple, punitive
                 27 and consequential damages,” “economic injury due to the price premium,” interest,
    Mitchell     28 and costs and attorneys’ fees. Id. at 30-31 (Prayer for Relief).
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                  1         This action is at its inception. After Defendant filed its Answer on August
                  2 10, 2021, counsel for the parties held a Rule 26(f) conference on September 22, at
                  3 which time Defendant’s counsel advised Rash’s counsel of the Gallo settlement.
                  4 See Richardson Decl., ¶ 2. No motion practice or discovery has yet taken place in
                  5 this action, other than Rash serving written discovery and his initial disclosures on
                  6 September 22, and the Scheduling Conference is currently set for October 22,
                  7 2021. See Id., ¶ 3.
                  8         B.    The Gallo Class Action and Nationwide Class Settlement
                  9         On September 22, 2021, plaintiffs Christopher Gallo, Howard Tang, and
                 10 Kenneth Petersen (collectively, “Gallo”) filed a Class Action Complaint in the
                 11 Superior Court of New Jersey, titled Gallo et al. v. Telebrands Corporation, Civil
                 12 Action No. ESX-L-007123-21. RJN, Ex. 1 (Gallo Complaint). The Gallo
                 13 plaintiffs are represented by the well-known class action plaintiffs’ firm of Bursor
                 14 & Fisher, P.A.
                 15         Gallo, similarly to the instant case, puts expandable Silver Bullet and Pocket
                 16 Hose Bullet Garden Hoses (the “Hoses”) at issue, alleging, among other things,
                 17 that “[d]espite Defendant’s representations and advertisements of durability, the
                 18 Hoses quickly wear and develop leaks, making the Hoses unusable and worthless.”
                 19 RJN, Ex. 1, Gallo Complaint, ¶ 4. The complaint in the instant action makes
                 20 similar allegations. E.g., Docket No. 1, ¶ 6 (“Contrary to Defendant’s advertising
                 21 and representations, however, shortly after the first use, Silver Bullet Hoses tear,
                 22 wear, develop pin-holes, and leak.”). Overall, the allegations in Gallo and here are
                 23 similar. Compare RJN, Ex. 1, ¶¶ 1-15 with Docket No. 1, ¶¶ 1-9, 15-22.
                 24         Both Gallo and this case seek to represents a nationwide class. Compare
                 25 RJN, Ex. 1, ¶ 20 (“Plaintiffs seek to represent a class defined as all persons in the
                 26 United States who purchased the Hoses (the ‘Class’)”) with Docket No. 1, ¶ 51
                 27 (“All individuals and entities in the United States who purchased Silver Bullet
    Mitchell     28 Hoses, not directly from Defendant, that were developed and marketed by
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                  1 Defendant”). Both Gallo and this case also seek to represents a subclass (a New
                  2 York subclass in Gallo and a California subclass in this action). Ibid.
                  3         Gallo also alleges claims similar to this case: (1) Deceptive Acts or
                  4 Practices, New York Gen. Bus. Law § 349; (2) False Advertising, New York Gen.
                  5 Bus. Law § 350; and (3) breach of express warranty. RJN, Ex. 1, ¶¶ 27-46. And,
                  6 Gallo seeks similar relief: declaratory and injunctive relief, compensatory,
                  7 statutory, and punitive damages, restitution and all other forms of equitable
                  8 monetary relief, interest, attorneys’ fees and expenses and costs of suit. Id., ¶ 47.
                  9         Also on September 22, 2021, the Gallo plaintiffs filed a motion for
                 10 preliminary approval of a nationwide class settlement which motion is currently set
                 11 for October 8, 2021. See RJN, Exs. 2-5. Among other things:
                 12               “Under the terms of the [Gallo] Settlement, Defendant
                 13               will provide a full refund of the purchase price to all
                 14               Settlement Class Members with proof of purchase
                 15               without any cap on the number of units claimed. For
                 16               Settlement Class Members who do not have receipts, but
                 17               are willing to return their Hoses [(Defendant shall cover
                 18               the cost for pre-paid shipping labels to be sent to all class
                 19               members wishing to return the Covered Products)],
                 20               Defendant will provide a full refund of the average
                 21               MSRP for that product during the Class Period, also
                 22               without any cap on the number of units claimed. For
                 23               Settlement Class Members who do not return the Hoses
                 24               and present no proof of purchase, Defendant will provide
                 25               a refund of up to $14, i.e., $7.00 each for up to two (2)
                 26               unit purchases of the Hoses during the Class Period.”
                 27 Id., Ex. 4 (Memorandum iso Motion for Preliminary Approval) at 58-59, 63.
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                  1         The Gallo court in New Jersey will thus now evaluate the terms of the
                  2 settlement and make a preliminary determination whether it is fair, reasonable, and
                  3 adequate for all class members. If such a determination is made, all class members
                  4 will then be provided with notice of the terms of the settlement and given an
                  5 opportunity to request exclusion, object, or express support for the proposed
                  6 settlement at the final approval hearing. If final approval is granted at the
                  7 conclusion of this process, all eligible class members in the Gallo settlement will
                  8 be entitled to relief, and the alleged claims will be resolved without the need for
                  9 further litigation. See generally RJN, Exs. 2-5.
                 10 III.    LEGAL STANDARD ON A MOTION TO STAY
                 11         This Court has broad discretion to stay its own case, including staying
                 12 discovery therein, in the interests of judicial economy and to ensure the orderly and
                 13 efficient management of litigation. Landis v. North American Co., 299 U.S. 248,
                 14 254 (1936) (“The power to stay proceedings is incidental to the power inherent in
                 15 every court to control the disposition of the causes on its docket with economy of
                 16 time and effort for itself, for counsel, and for litigants.”); Chambers v. NASCO,
                 17 Inc., 501 U.S. 32, 45-46 (1991) (noting court’s broad inherent authority to address
                 18 discovery issues); see also Fed. R. Civ. Proc. 26(b)(2)(C)(iii) (“On motion or on its
                 19 own, the court must limit the frequency or extent of discovery otherwise
                 20 allowed…if it determines that the burden or expense of the proposed discovery
                 21 outweighs its likely benefit, considering the needs of the case, the amount in
                 22 controversy….”).
                 23         Specifically, a “trial court may, with propriety, find it is efficient for its own
                 24 docket and the fairest course for the parties to enter a stay of an action before it,
                 25 pending resolution of independent proceedings which bear upon the case.” Leyva
                 26 v. Certified Grocers of California, Ltd., 593 F.2d 857, 864 (9th Cir. 1979) (citing
                 27 multiple cases). Indeed, “Courts routinely exercise [their discretionary] power and
    Mitchell     28 grant stays when a pending nationwide settlement could impact the claims in the
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                  1 case before them.” Hennessey v. The Gap Inc., No. 4:19-CV-01867-SEP, 2021
                  2 WL 2665910, at *1 (E.D. Mo. June 29, 2021) (staying a federal class action
                  3 pending the approval of a class settlement in a similar California state action)
                  4 (collecting cases); Pieterson, 2019 WL 1466963, at *1 (similar).
                  5         The Ninth Circuit has set out the following factors for evaluating whether a
                  6 stay is proper:
                  7               “Where it is proposed that a pending proceeding be
                  8               stayed, the competing interests which will be affected by
                  9               the granting or refusal to grant a stay must be weighed.
                 10               Among those competing interests are [1] the possible
                 11               damage which may result from the granting of a stay,
                 12               [2] the hardship or inequity which a party may suffer in
                 13               being required to go forward, and the [3] orderly course
                 14               of justice measured in terms of the simplifying or
                 15               complicating of issues, proof, and questions of law which
                 16               could be expected to result from a stay.”
                 17 Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005). The moving party
                 18 bears the burden of establishing that a stay is warranted. Id. at 1109.
                 19         As established below, Defendant amply meets its burden here.
                 20 IV.     THE TEMPORARY STAY IS WARRANTED
                 21         Each of the three factors identified in Lockyer, supra, supports the temporary
                 22 stay.
                 23         A.    Factor One: Staying This Case Will Cause No Harm To Rash
                 24         No damage will result to the Plaintiff herein from the temporary stay. As
                 25 explained in Pieterson:
                 26               “[The Gallo] parties have already agreed to the terms of a
                 27               settlement, signed a settlement term sheet, and they
    Mitchell     28               [filed] … the motion for preliminary approval. The
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                  1                [Gallo] court will either grant or deny preliminary
                  2                approval. If the court grants the motion, Plaintiffs [here]
                  3                can challenge the settlement. If the settlement obtains
                  4                final approval as fair and reasonable, among other
                  5                criteria, Plaintiffs will either be compensated under the
                  6                settlement or can resume litigating this case, depending
                  7                on whether they remain a part of the settlement class and
                  8                any claims in this case remain viable.”
                  9 2019 WL 1466963, at *1; see also In re JPMorgan Chase LPI Hazard Litig., No.
                 10 C-11-03058 JCS, 2013 WL 3829271, at *4 (N.D. Cal. July 23, 2013) (similar;
                 11 granting stay where parties in parallel action had signed a settlement term sheet).
                 12 The same reasoning applies here, warranting a stay in this action.
                 13         Moreover, Rash would suffer no harm by allowing the Gallo court to assess
                 14 the fairness of the class settlement reached in that case, and he has a remedy for
                 15 whatever purported harm he might assert. Rash is free to challenge the Gallo
                 16 settlement terms or to opt-out of the settlement altogether. Thus, it is beyond
                 17 reasonable dispute that Rash will suffer no harm by allowing the Gallo court to
                 18 consider a proposed settlement. See ibid.
                 19         Further, the instant case has just been recently filed (June 2021) and is in its
                 20 inception, and a brief stay in the proceedings will not prejudice Plaintiff, who, as
                 21 noted, has “a right to challenge the [Gallo] settlement if [he] do[es] not believe it is
                 22 fair to [him] as [a] class member[], and any resulting delay for that reason would
                 23 arguably be, at least in part, a result of [Plaintiff’s] own actions.” Id., at*2. See
                 24 also Orion Prop. Grp., LLC v. Hjelle, No. 19CV0044JSGRB, 2020 WL 224573, at
                 25 *4 (E.D.N.Y. Jan. 15, 2020) (granting stay pending approval of state class
                 26 settlement: “although this action may have been initiated prior to the Illinois
                 27 [state] Action, the Court finds that a limited stay favors judicial economy and will
    Mitchell     28 not prejudice Plaintiff. Indeed, the Illinois Action is closer to final resolution while
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                  1 this action is in its infancy: a motion to dismiss is fully briefed and pending and
                  2 the parties have not yet started discovery.”).
                  3         At bottom, “no matter how hard [Rash’s counsel] tries to argue back that a
                  4 stay isn’t warranted …, the real fight here is for control of a class action between
                  5 two warring plaintiffs’ firms.” Branca, 2013 WL 1344306, at *1. However, it is
                  6 well-settled that “Lockyer is concerned with harm to the parties, not counsel.”
                  7 Pieterson, 2019 WL 1466963, at *2 (granting stay pending settlement approval in
                  8 a separate overlapping class action and rejecting an argument that plaintiffs “will
                  9 be damaged by delaying resolution of their claims in favor of the [other]
                 10 proceedings”). Accord Rego v. Am. Honda Motor Co., No. CV1201193VAPOPX,
                 11 2012 WL 12953740, at *3 (C.D. Cal. Sept. 20, 2012) (“staying this action will not
                 12 injure Plaintiffs but will avoid duplicative litigation” pending the appeal of the
                 13 final approval of a state class settlement).
                 14         B.    Factor Two: Allowing This Lawsuits To Proceed While The Gallo
                 15               Settlement Is Considered Would Harm Defendant
                 16         “[A]bsent a stay Defendant may be subject to duplicative and inconsistent
                 17 rulings,” which satisfies the Lockyer hardship or inequity to a defendant factor.
                 18 Pieterson, 2019 WL 1466963, at *2 (staying the action because “[d]uplicative or
                 19 inconsistent rulings are a concern if this litigation continues unabated while the
                 20 [state] case moves toward approval of the settlement”). See also Rego, 2012 WL
                 21 12953740, at *4 (“The Court finds Defendant should not be required to go forward
                 22 when duplicative or unnecessary litigation is likely” pending the appeal of the final
                 23 approval of a state class settlement).
                 24         In addition, without a stay, Defendant would likely be exposed to expansive
                 25 and potentially wasteful and unnecessary discovery. See Leyva, 593 F.2d at 864
                 26 (“It would waste judicial resources and be burdensome upon the parties if the
                 27 district court in a case such as this [with parallel arbitration proceedings which,
    Mitchell     28 when resolved, would be of valuable assistance to the court in resolving the non-
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                  1 arbitrable claims] were mandated to permit discovery, and upon completion of
                  2 pretrial proceedings, to take evidence and determine the merits of the case at the
                  3 same time as the arbitrator is going through a substantially parallel process.”). See
                  4 also Chartener v. Provident Mut. Life Ins. Co., No. Civ.A. 02–8045, 2003 WL
                  5 22518526, at *2-4 (E.D. Pa. Oct. 22, 2003) (staying federal class action pending
                  6 appeal of a state class settlement which, “if affirmed, will preclude the claims in
                  7 this action and, thus, staying the action before this court will prevent the waste of
                  8 judicial and litigant resources”); Pearson v. Wells Fargo, N.A., No. C14-0521JLR,
                  9 2014 WL 2452802, at *4 (W.D. Wash. June 2, 2014) (granting stay pending
                 10 approval of a class settlement in a Florida federal action: “If the court allows the
                 11 present suit to continue without first determining the status of the [pending
                 12 approval in a separate action] settlement class, the uncertainty as to the ability of
                 13 both Ms. Pearson and the putative class to participate in the litigation could cause
                 14 considerable hardship to Defendants….”).
                 15         C.     Factor Three: A Stay Would Promote The Orderly
                 16                Administration of Justice
                 17         Finally, “[s]taying the case is the best option for promoting the orderly
                 18 administration of justice under the circumstances.” Pieterson, 2019 WL 1466963,
                 19 at *3. Approval of the Gallo settlement would be dispositive of this case because
                 20 the Gallo settlement includes all members of the proposed classes in the instant
                 21 action. See, e.g., In re JPMorgan Chase LPI Hazard Litig., 2013 WL 3829271, at
                 22 *5 (“a stay is in the interest of judicial economy because a settlement in [the
                 23 parallel class action] will obviate any further litigation of issues in this case”).
                 24         In fact, even where a class settlement may not completely dispose of a
                 25 parallel lawsuit, a settlement that materially affects another lawsuit warrants a stay
                 26 because, at the very least, “[a] decision on settlement approval in [Gallo] will be a
                 27 significant step toward resolving [the claims in the federal case] or at least
    Mitchell     28 streamlining the questions that must be resolved by this Court and clarifying what
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                  1 claims remain in this case and who may pursue them.” Pieterson, 2019 WL
                  2 1466963, at *3. Conversely, “[w]ithout a stay, the Court and the parties will invest
                  3 significant resources to resolve the … class certification and … future dispositive
                  4 motions, all or most of which may be for naught if the [state class action]
                  5 settlement is eventually approved.” Id. at *3.
                  6         In light of these considerations, cases issuing stays under similar
                  7 circumstances are legion. Ibid.; see also Albert v. Blue Diamond Growers, 232 F.
                  8 Supp. 3d 509, 513 (S.D.N.Y. 2017) (Finding “that a stay in this case is in the
                  9 interest of judicial economy. Proceeding with this case while a potential
                 10 nationwide settlement [in a state class action] that encompasses Plaintiffs’ claims is
                 11 pending would cause the parties to expend considerable resources conducting
                 12 discovery and briefing motions that may be unnecessary. Such expense would
                 13 unduly burden Blue Diamond as well as this Court. Furthermore, a stay in this
                 14 case would promote the interests of non-parties and the public to conserve judicial
                 15 resources and promote judicial economy. Finally, a stay in this case will not
                 16 prejudice Plaintiffs. If the Settlement Agreement is not approved, Plaintiffs can
                 17 move to lift the stay and continue to pursue their claims in this case.”); Rego, 2012
                 18 WL 12953740, at *4 (finding state class settlement approval, if upheld on appeal,
                 19 “would simplify … issues and questions of law” in the federal case being stayed);
                 20 Pearson v. Wells Fargo, N.A., 2014 WL 2452802, at *4 (granting stay pending
                 21 approval of a class settlement in a Florida federal action: “If the court allows the
                 22 present suit to continue without first determining the status of the [pending
                 23 approval in a separate action] settlement class, the uncertainty as to the ability of
                 24 both Ms. Pearson and the putative class to participate in the litigation could …
                 25 complicate the litigation, and waste judicial resources. If the court grants the stay,
                 26 however, the [pending approval in a separate action] settlement could simplify
                 27 matters for this court by determining the landscape of plaintiffs who are permitted
    Mitchell     28 to bring or participate in suits against Wells Fargo.”); Lindley v. Life Investors Ins.
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                  1 Co. of America, Nos. 08-CV-0379-CVE-PJC, 09-CV-0429, 2009 WL 3296498, at
                  2 *1-3 (N.D. Okla. Oct. 9, 2009) (the District Court, along with judges in other six
                  3 related federal cases, “stay[ed] proceedings on plaintiff’s class allegations pending
                  4 a fairness hearing of a possible nationwide class settlement in [a state court action
                  5 in Arkansas]” because approval or rejection of the state class settlement would
                  6 have a “significant impact” on the court’s class certification decision).
                  7         In sum, the temporary stay is warranted and should be granted.
                  8 V.      CONCLUSION
                  9         For the above reasons, the Court should grant this motion and temporarily
                 10 stay this action, including discovery, pending the review and approval of the Gallo
                 11 settlement by the New Jersey state court.
                 12 DATED: OCTOBER 8, 2021                MITCHELL SILBERBERG & KNUPP LLP
                 13
                 14                                       By:
                                                                 Valentine A. Shalamitski
                 15                                              Attorneys for Defendant
                                                                 Telebrands Corp.
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                  1                 DECLARATION OF JEFFREY L. RICHARDSON
                  2         I, Jeffrey L. Richardson, declare:
                  3         1.    I am an attorney licensed to practice law before this Court and in the
                  4 State of California, and I am, through my professional corporation, partner in the
                  5 law firm of Mitchell Silberberg & Knupp LLP. I represent defendant Telebrands
                  6 Corp. (erroneously sued as Telebrands Corporation) in the above-entitled action.
                  7 Unless otherwise indicated, I have personal knowledge of the following facts and,
                  8 if called and sworn as a witness, could and would competently testify thereto.
                  9         2.    Pursuant to Local Rule 7-3, I started the meet and confer with
                 10 Plaintiff’s counsel herein, including Michael Ram and several of his co-counsel, on
                 11 September 22, 2021, when I informed him of the Gallo settlement (as defined in
                 12 the motion). On October 1, 2021, I met and conferred with Mr. Ram and his
                 13 colleagues about this motion. Plaintiff’s counsel did not agree to a stay which
                 14 necessitated the filing of this motion.
                 15         3.    No motion practice or discovery has yet taken place in this action,
                 16 other than Plaintiff serving written discovery and his initial disclosures on
                 17 September 22, and the Scheduling Conference is currently set for October 22,
                 18 2021.
                 19         4.    True and correct copies of the following documents, which I received
                 20 from the counsel for the filing party, are attached to the concurrently-filed Request
                 21 for Judicial Notice:
                 22               Exhibit 1: A class action Complaint filed by plaintiffs Christopher
                 23         Gallo, Howard Tang, and Kenneth Petersen in the Superior Court of New
                 24         Jersey, titled Gallo et al. v. Telebrands Corporation, Civil Action No. ESX-
                 25         L-007123-21 (“Gallo”).
                 26               Exhibit 2: Class Settlement Agreement filed in the Gallo action as
                 27         Exhibit 8 to plaintiffs’ Notice of Motion for Preliminary Approval of Class
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   Knupp LLP
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                  1        Settlement Agreement (Exhibit 3 below) as well as Exhibit 8 to the Kopel
                  2        Certification (Exhibit 5 below).
                  3               Exhibit 3: Notice of Motion for Preliminary Approval of Class
                  4        Settlement Agreement filed in the Gallo action (without its Exhibits, which
                  5        are duplicative of Exhibit 5 below, omitted).
                  6               Exhibit 4: Memorandum of Law in Support of Plaintiffs’ Motion for
                  7        Preliminary Approval of Class Action Settlement filed in the Gallo action.
                  8               Exhibit 5: Certification of Yitzchak Kopel in Support of Plaintiffs’
                  9        Motion for Preliminary Approval of Class Action Settlement filed in the
                 10        Gallo action (with Exhibits 1-7, which are copies of Westlaw printouts of
                 11        cases, omitted).
                 12        I declare under penalty of perjury under the laws of the United States of
                 13 America that the foregoing is true and correct.
                 14        Executed on October 8, 2021, at Los Angeles, California.
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                 17                                                Jeffrey L. Richardson
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